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  EXHIBIT “23”
                                                                                                                    INDEX NO. 650582/2022
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK: COMMERCIAL DIVISION PART 53
          -----------------------------------------------------------------------------------X
           SPIN CAPITAL, LLC,                                                                    INDEX NO.         650582/2022

                                                       Plaintiff,                                                  08/10/2023,
                                                                                                                   09/01/2023,
                                              -v-                                                                  10/30/2023,
                                                                                                                   11/17/2023,
           GOLDEN FOOTHILL INSURANCE SERVICES, LLC,LIFE                                          MOTION DATE       11/17/2023
           FACTOR II, LLC,LIFE SHARES II, LLC,EL DORADO
           HILLS INSURANCE SOLUTIONS, INC.,LONE WOLF
                                                                                                                   016 017 018
           INSURANCE SERVICES, INC.,ELDO INVESTMENTS,
                                                                                                 MOTION SEQ. NO.    019 019
           LLC,THE GENESIS LS FUND, LLC,KTL HOLDINGS,
           INC.,ZURICH AMERICAN LIFE INSURANCE CO.,
           ACCORDIA LIFE AND ANNUITY COMPANY, JOHN                                                DECISION + ORDER ON
           HANCOCK LIFE INSURANCE COMPANY,                                                              MOTION
           BRIGHTHOUSE LIFE INSURANCE CO., CAP FACTOR,
           LLC,STEFAN LEER, TATANISHA LEER,

                                                       Defendant.
          -----------------------------------------------------------------------------------X


           GOLDEN FOOTHILL INSURANCE SERVICES, LLC, LIFE                                                    Third-Party
           FACTOR II, LLC, LIFE SHARES II, LLC, EL DORADO HILLS                                       Index No. 595367/2022
           INSURANCE SOLUTIONS, INC., LONE WOLF INSURANCE
           SERVICES, INC., ELDO INVESTMENTS, LLC, THE GENESIS
           LS FUND, LLC, KTL HOLDINGS, INC., STEFAN LEER,
           TATANISHA LEER

                                                        Plaintiff,

                                               -against-

           SPIN CAPITAL, LLC, AVRUMI LUBIN

                                                        Defendant.
           --------------------------------------------------------------------------------X

          HON. ANDREW BORROK:

          The following e-filed documents, listed by NYSCEF document number (Motion 016) 302, 303, 304, 305,
          306, 307, 308, 309, 310, 311, 312, 313, 314, 316, 339, 340, 341, 342, 343, 344, 345, 346, 347, 348,
          349, 350, 351, 352, 353, 354, 355, 356, 389, 390, 391, 392, 435
          were read on this motion to/for                              MISCELLANEOUS                          .

          The following e-filed documents, listed by NYSCEF document number (Motion 017) 318, 319, 320, 321,
          322, 323, 324, 325, 326, 327, 328, 329, 330, 331, 332, 333, 334, 335, 336, 337, 338, 357, 360, 361,
          362, 363, 364, 365, 366, 367, 368, 369, 370, 371, 372, 373, 374, 375, 376, 377, 378, 379, 380, 381,
          382, 383, 384, 385, 386, 387
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          were read on this motion to/for                ENFORCE/EXEC JUDGMENT OR ORDER                         .

          The following e-filed documents, listed by NYSCEF document number (Motion 018) 394, 395, 396, 397,
          398, 399, 400
          were read on this motion to/for                    APPROVE/SETTLE ACCOUNTING                       .

          The following e-filed documents, listed by NYSCEF document number (Motion 019) 404, 405, 406, 407,
          408, 409, 410, 411, 412, 413, 414, 415, 416, 417, 418, 419, 420, 421, 422, 423, 424, 425, 426, 427,
          428, 429, 430, 431, 432, 433, 434, 436, 437, 438, 439, 440, 441, 442, 443, 444, 445, 446, 447, 448,
          449, 450, 451, 452, 453, 454, 455, 456, 457, 458, 459, 460, 461, 462, 463, 464, 465
          were read on this motion to/for                                DISCOVERY                            .

          The following e-filed documents, listed by NYSCEF document number (Motion 019) 404, 405, 406, 407,
          408, 409, 410, 411, 412, 413, 414, 415, 416, 417, 418, 419, 420, 421, 422, 423, 424, 425, 426, 427,
          428, 429, 430, 431, 432, 433, 434, 436, 437, 438, 439, 440, 441, 442, 443, 444, 445, 446, 447, 448,
          449, 450, 451, 452, 453, 454, 455, 456, 457, 458, 459, 460, 461, 462, 463, 464, 465
          were read on this motion to/for                              ENFORCEMENT                            .

         As set forth on the record (1.4.24), the Plaintiff’s motion for a protective order (Mtn. Seq. No.

         016) is denied without prejudice. The motion to dismiss the counterclaims was granted without

         prejudice and the intention was that the Defendants would be entitled to seek appropriate

         proportional discovery as to the underlying debt and, if appropriate, reassert counterclaims. The

         court (Rakoff, J.) decision in Haymount Urgent Care PC v GoFund Advance, LLC, 2023 US Dist

         LEXIS 151141 [SDNY Aug. 28, 2023, No. 22-cv-1245 (JSR)]), post dates the motion to dismiss

         the counterclaims and raises questions not previously considered by this Court (because the

         parties had not previously raised those issues as the decision had not yet been issued). The scope

         of the discovery however appears to be too overbroad. If the parties can not agree (given the

         Court’s guidance on the record), the Defendant may email Part 53 (sfc-part53@nycourts.gov)

         and request a conference, and the Court shall issue a supplemental order.



         The branch of the Receiver’s motion directing the Leer Defendants to turn over the Hancock

         Distribution (hereinafter defined) (Mtn. Seq. No. 017) is granted. This Court issued a clear

         unequivocal Decision and Order dated January 6, 2023 (NYSCEF Doc. No. 245; the Receiver
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         Order) pursuant to which this Court (x) appointed Fred Stevens as Receiver for certain

         Insurance Policies, including the John Hancock Policy, (y) authorized the Receiver to take steps

         reasonably necessary to investigate the Insurance Policies and other insurance policies owned or

         transferred by the Leer Defendants, and (z) ordering all parties to cooperate with the Receiver

         and abide by requests for documents, records or information. In violation of the Receiver Order,

         Defendant Stefan Leer willfully and contumaciously applied on behalf of Life Shares 1019, LLC

         for a distribution under the John Hancock Policy and directed that distribution of $1,985,267.42

         in insurance proceeds be routed to a Life Shares 1019, LLC account (the Hancock Distribution;

         see NYSCEF Doc. No. 324) and has refused to turn or direct that these monies be turned over to

         the Receiver. He is thus in in civil contempt. He may purge this civil contempt of court by

         turning the Hancock Distribution over to the Receiver by 5 pm on January 5, 2024. If he fails to

         cause the proceeds to be deposited with the Receiver by such time, the Receive may email Part

         53 (sfc-part53@nycourts.gov), and the Court may hold Mr. Leer in criminal contempt.



         The branch of the Receiver’s motion seeking a release with respect to the Brighthouse Insurance

         proceeds is held in abeyance until the parties receive guidance from the United States District

         Court for the Southern District of New York as it relates to this Insurance Policy where this

         Court is the Court of primary jurisdiction as it relates to the dispute between the parties.



         The Receiver’s motion to approve and authorize payment of fees to the Receiver and for the

         reimbursement of expenses (Mtn. Seq. No. 018) is granted. The motion is unopposed, and the

         fees and expenses are reasonable.




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         The Leer Defendants’ motion to compel subpoena compliance on BMF and Hi Bar (Mtn. Seq.

         No. 019) is denied without prejudice as to BMF and granted with respect to Hi Bar. The BMF

         subpoena does not appear to have been properly served. Leave is granted to the Leer Defendants

         to move by order to show cause to seek alternative service. With respect to Hi Bar, as with Spin,

         the scope of the material sought however is overboard and the parties are directed to meet and

         confer as directed on the record.



         Accordingly, it is hereby



         ORDERED that the motion for a protective order striking certain deposition topics and limiting

         the scope of Spin Capitals’s deposition (Mtn. Seq. No. 016) is denied without prejudice; and it is

         further



         ORDERED that the parties shall meet and confer on an appropriate scope of discovery; and it is

         further



         ORDERED that the motion to hold the Leer Defendants in civil contempt (Mtn. Seq. No. 017) is

         granted solely to the extent that Defendant Stefan Leer is in civil contempt of court; and it is

         further



         ORDERED that Defendant Stefan Leer shall be able to purge this civil contempt of court by

         turning over the Hancock Distribution to the Receiver by 5:00 pm on January 5, 2024; and it is

         further

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         ORDERED that if he fails to cause the proceeds to be deposited with the Receiver by such time,

         the Receiver may email Part 53 (sfc-part53@nycourts.gov), and the Court may hold Mr. Leer in

         criminal contempt; and it is further



         ORDERED that the Receiver’s motion to approve and authorize payment of fees and

         reimbursement of expenses (Mtn. Seq. No. 018) is granted; and it is further



         ORDERED that the motion to compel subpoena compliance (Mtn. Seq. No. 019) is denied

         without prejudice as to BMF and granted as to Hi Bar to the extent set forth on the record.

                  1/4/2024
                   DATE                                                       ANDREW BORROK, J.S.C.
          CHECK ONE:                  CASE DISPOSED                X   NON-FINAL DISPOSITION

                                      GRANTED             DENIED   X   GRANTED IN PART           OTHER

          APPLICATION:                SETTLE ORDER                     SUBMIT ORDER

          CHECK IF APPROPRIATE:       INCLUDES TRANSFER/REASSIGN       FIDUCIARY APPOINTMENT     REFERENCE




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